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IN THE UNITED sTATEs DISTRICT CoURT " f .. _ n
FOR THE WEsTERN DISTRICT oF TENNEssEé-’S\/W ' ‘~ » :..zf`
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LARRY STEVE MELTON, LARRY S. MELTON
R & J of TENNESSEE, INC.,

Plaintiffs,
v. No. 02-1152-B

BANK OF LEXINGTON branch of the
BANK OF FRIENDSHIP, et al.,

Defendants .

 

ORDER DENYING PLAINTIFF LARRY S. MELTON’S APPLICATIONS
FOR ENTRY OF DEFAULT

 

Before the Court is the May 31, 2005, applications of the m se Plaintiff, Larry S.
Melton, for entry of default under Rule 55(a), Federal Rules of Civil Procedure, against the
third-party Defendants, Bradley Kirk (“Kirk”) and Carter, Stanflll & Kirk, PLLC ("CS&K").
According to his motion, Melton claims that Kirk and CS&K have failed to plead or otherwise
defend against his counterclaim, although ninety days has passed since the Court entered orders
on February 18, 2005 (Docket Entry No. 549) and February 25, 2005 (Docket Entry No. 550)
0to set aside the default against these Defendants. However, on May 27, 2005, Kirk and CS&K
filed a motion to dismiss the counterclaims/cross-claims of Larry S. Melton and, thus, these
Defendants have in fact pled as required by Rule 55(a). Under that Rule, a default shall be
entered by the clerk only

[w]hen a party against whom a judgment for affirmative relief is sought has failed
to plead or otherwise defend as provided by these rules. ..

Fed.R.Civ.P. 55(a). Since the third-party Defendants submitted their motion, which constitutes

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a pleading under the Federal Rules, before Meiton's, the basis for granting a default is no longer

present against these parties.

Accordingly, the application of the pg _s§ Plaintiff, Larry S. Melton, for default against the

third-party Defendants, Bradley Kirk and Carter-Stanfill & Kirk, PLLC, is DENIED.

_ °ZL
IT Is so 0RDERED mls :}_ day of June 2005

dba

lLj).l)ANIEL BREEN
NITE STATES DISTRICT DGE

 

June 13, 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

